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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

ACORDA THERAPEUTICS, INC., et al.,               )
                                                 )
                       Plaintiffs,               )
                                                 )
               v.                                )      C.A. No. 14-882 (LPS)
                                                 )      (CONSOLIDATED)
ROXANE LABORATORIES, INC., et al.,               )
                                                 )
                       Defendants.               )

JOINT STIPULATION TO NARROW ISSUES FOR TRIAL AND [PROPOSED] ORDER

       This stipulation is made by and between plaintiffs Acorda Therapeutics, Inc. (“Acorda”)

and Alkermes Pharma Ireland Limited (“Alkermes,” and, together with Acorda, “Plaintiffs”) and

defendants Apotex Corp., Apotex Inc. (together with Apotex Corp. “Apotex”), Mylan

Pharmaceuticals     Inc.   (“Mylan”),   Roxane       Laboratories,   Inc.   (“Roxane”),   and   Teva

Pharmaceuticals USA, Inc. (“Teva”) (each, “Defendant,” and collectively, “Defendants”).

       WHEREAS, on July 18, 2014, Plaintiffs filed an action against Apotex for infringement

of United States Patent No. 5,540,938 (the “’938 patent”), United States Patent No. 8,007,826

(the “’826 patent”), United States Patent No. 8,354,437 (the “’437 patent”), United States Patent

No. 8,400,703 (the “’703 patent”), and United States Patent No. 8,663,685 (the “’685 patent”)

(collectively the “patents-in-suit”), captioned Acorda Therapeutics, Inc., et al. v. Apotex Corp., et

al., C.A. No. 14-cv-00955-LPS, in connection with Apotex’s submission of Abbreviated New

Drug Application (“ANDA”) No. 206823 to the United States Food and Drug Administration

(“FDA”) seeking approval to market and sell 10 mg dalfampridine extended release tablets

(“Apotex’s generic dalfampridine tablets”) prior to the expiration of the patents-in-suit;

       WHEREAS, on July 16, 2014, Plaintiffs filed an action against Mylan for infringement of

the patents-in-suit, captioned Acorda Therapeutics, Inc., et al. v. Mylan Pharmaceuticals Inc., et
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al., C.A. No. 14-cv-00935-LPS, in connection with Mylan’s submission of ANDA No. 206858

to the FDA seeking approval to market and sell 10 mg dalfampridine extended release tablets

(“Mylan’s generic dalfampridine tablets”) prior to the expiration of the patents-in-suit;

       WHEREAS, on July 14, 2014, Plaintiffs filed an action against Roxane for infringement

of the patents-in-suit, captioned Acorda Therapeutics, Inc., et al. v. Roxane Laboratories, Inc., et

al., C.A. No. 14-cv-00922-LPS, in connection with Roxane’s submission of ANDA No. 206646

to the FDA seeking approval to market and sell 10 mg dalfampridine extended release tablets

(“Roxane’s generic dalfampridine tablets”) prior to the expiration of the patents-in-suit;

       WHEREAS, on July 17, 2014, Plaintiffs filed an action against Teva for infringement of

the patents-in-suit, captioned Acorda Therapeutics, Inc., et al. v. Teva Pharmaceuticals USA,

Inc., C.A. No. 14-cv-00941-LPS, in connection with Teva’s submission of ANDA No. 206854 to

the FDA seeking approval to market and sell 10 mg dalfampridine extended release tablets

(“Teva’s generic dalfampridine tablets”) prior to the expiration of the patents-in-suit;

       WHEREAS, on April 22, 2015, the above actions were consolidated with C.A. No. 14-

882 (LPS) (“this action”) for all purposes;

       WHEREAS, Plaintiffs allege in this action that the filing by Defendants of ANDA Nos.

206823, 206858, 206646, and 206854 with the FDA constituted acts of infringement of claims 3

and 8 of the ’938 patent; claims 1, 7, 38, and 39 of the ’826 patent; claims 1, 2, 5, 22, 32, 36, and

37 of the ’437 patent; claims 36, 38, and 45 of the ’703 patent; and claims 3 and 5 of the ’685

patent (collectively, the enumerated claims are referred to hereinafter as “the Asserted Claims”),

and that Defendants’ manufacture, use, sale, offer for sale, or importation of their generic

dalfampridine tablets in the United States will infringe the Asserted Claims;

       WHEREAS, the parties are interested in narrowing the issues before the Court;




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       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiffs and

Defendants, through their respective undersigned counsel, and subject to the approval of the

Court, that:

               1.      The filing of each Defendant’s ANDA with the FDA seeking approval to

market its generic dalfampridine tablets prior to the expiration of the patents-in-suit infringed the

Asserted Claims of the patents-in-suit under 35 U.S.C. § 271(e)(2)(A), to the extent those claims

are found to be valid and enforceable.

               2.      The Asserted Claims of the patents-in-suit would be infringed by use of

the proposed products of Defendants’ ANDAs, to the extent those claims are valid and

enforceable.

               3.      Defendants’ affirmative defenses of non-infringement and counterclaims

for declaratory judgment of non-infringement of the Asserted Claims of the patents-in-suit are

hereby dismissed with prejudice.

               4.      Defendants shall have the right to present at trial any or all of their

remaining defenses permitted by the Court, including invalidity.

               5.      For purposes of this action only, Plaintiffs will not present evidence that

the “twelve week” limitation in claim 39 of the ’826 patent is uniquely inventive over the “two

week” limitation in claim 37 of the ’826 patent. In other words, for purposes of this action only,

if the “two week” limitation in claim 37 of the ’826 patent is held to be obvious, the “twelve

week” limitation in claim 39 of the ’826 patent will be similarly held to be obvious.

               6.      For purposes of this action only, Plaintiffs will not present evidence that

the “twelve week” limitation in claim 5 of the ’437 patent is uniquely inventive over the “two

week” limitation in claim 1 of the ’437 patent. In other words, for purposes of this action only, if




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the “two week” limitation in claim 1 of the ’437 patent is held to be obvious, the “twelve week”

limitation in claim 5 of the ’437 patent will be similarly held to be obvious.

               7.      For purposes of this action only, Plaintiffs will not present evidence that

the “twelve week” limitation in claim 36 of the ’437 patent is uniquely inventive over the “two

week” limitation in claim 32 of the ’437 patent. In other words, for purposes of this action only,

if the “two week” limitation in claim 32 of the ’437 patent is held to be obvious, the “twelve

week” limitation in claim 36 of the ’437 patent will be similarly held to be obvious.

               8.      For purposes of this action only, Plaintiffs will not present evidence that

the “twelve week” limitation in claim 37 of the ’437 patent is uniquely inventive over the “two

week” limitation in claim 33 of the ’437 patent. In other words, for purposes of this action only,

if the “two week” limitation in claim claim 33 of the ’437 patent is held to be obvious, the

“twelve week” limitation in claim 37 of the ’437 patent will be similarly held to be obvious.

               9.      Plaintiffs have standing with respect to each of Plaintiffs’ claims asserted

in this action against Defendants.

               10.     This Stipulation and Order shall not affect any other claim, defense, or

counterclaim that the parties have asserted or could assert in this action, or in any other litigation.




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SO ORDERED this ____ day of September, 2016.



      UNITED STATES DISTRICT JUDGE




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